                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      CASE NO. 1-11-00010
                                                  )      JUDGE SHARP
JERAMIE HILL [4]                                  )
                                                  )

                                         ORDER


       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing

(Docket No. 228) to which the Government does not oppose.

       The motion is GRANTED and the sentencing hearing scheduled for August 29, 2014, is

hereby rescheduled for Tuesday, September 9, 2014, at 1:30 p.m.

       It is so ORDERED.




                                                 KEVIN H. SHARP
                                                 UNITED STATES DISTRICT JUDGE




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